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                       IN THE UNITED STATES BANKRUPTCY COURT
                            FOR THE DISTRICT OF DELAWARE

In re:                                                       Chapter 11

FTX TRADING LTD., et al., 1                                  Case No. 22-11068 (JTD)

         Debtors.                                            (Jointly Administered)

                                                             Hearing Date: April 17, 2025 at 10:00 a.m. ET
                                                             Objection Deadline: January 31, 2025 at 4:00 p.m. ET



                FINAL FEE APPLICATION OF SULLIVAN & CROMWELL LLP

Name of Applicant                                         Sullivan & Cromwell LLP
Authorized to Provide Professional Services to:           Debtors and Debtors-in-Possession
Date of Retention:                                        January 20, 2023 nunc pro tunc to November
                                                          11, 2022
Period for which compensation and                         November 11, 2022 through October 8, 2024
reimbursement is sought:
Amount of fees to be approved on a final basis            $236,969,698.00
as reasonable and necessary:
Amount of expenses to be approved on a final              $799,355.63
basis as actual, reasonable and necessary:
Total compensation paid to date:                          $230,485,493.83
Total expenses paid to date:                              $731,817.52

This is a(n) ____ monthly             _      interim      __x__ final application




1
    The last four digits of FTX Trading Ltd.’s and Alameda Research LLC’s tax identification number are 3288 and
    4063 respectively. Due to the large number of debtor entities in these Chapter 11 Cases, a complete list of the
    Debtors and the last four digits of their federal tax identification numbers is not provided herein. A complete
    list of such information may be obtained on the website of the Debtors’ claims and noticing agent at
    https://cases.ra.kroll.com/FTX. The principal place of business of Debtor Emergent Fidelity Technologies Ltd
    is Unit 3B, Bryson’s Commercial Complex, Friars Hill Road, St. John’s, Antigua and Barbuda.



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                                  PRIOR MONTHLY FEE STATEMENTS FILED

                                                                           Requested                                    Approved
Date Filed        Period Covered              Requested Fees                            Approved Fees 1
                                                                           Expenses                                     Expenses 2
02/07/2023   11/12/2022-11/30/2022                  $9,529,535.50           $105,053.32   $7,623,628.40                 $105,053.32
02/14/2023   12/01/2022-12/31/2022                 $15,407,509.50           $134,311.31  $12,326,007.60                 $134,311.31
03/06/2023   01/01/2023-01/31/2023                 $16,855,264.80            $44,462.04  $13,484,211.84                  $44,462.04
             11/11/2022-01/31/2023
                 (First Interim Fee
03/17/2023         Application)                    $41,792,309.80           $283,826.67         $41,142,309.80           $276,737.79
04/04/2023   02/01/2023-02/28/2023                 $13,451,559.90            $81,837.95         $10,761,247.92            $81,837.95
04/28/2023   03/01/2023-03/31/2023                 $14,061,020.70            $83,721.83         $11,248,816.56            $83,721.83
06/01/2023   04/01/2023-04/30/2023                  $9,980,289.00            $18,841.16          $7,984,231.20            $18,841.16
             02/01/2023-04/30/2023
               (Second Interim Fee
06/15/2023         Application)                    $37,492,869.60           $184,400.94         $36,942,869.60           $178,900.94
07/01/2023   05/01/2023-05/31/2023                 $11,493,062.50            $25,555.17          $9,194,450.00            $25,555.17
08/01/2023   06/01/2023-06/31/2023                 $10,734,782.10            $20,948.35          $8,587,825.68            $20,948.35
08/30/2023   07/01/2023-07/31/2023                  $9,483,455.00            $14,782.07          $7,586,764.00            $14,782.07
             05/01/2023-07/31/2023
                (Third Interim Fee
09/15/2023         Application)                    $32,315,409.10             $60,438.89        $31,730,409.10               $54,938.89
09/29/2023   08/01/2023-08/31/2023                  $9,482,520.00             $14,782.07         $7,586,016.00               $14,782.07
10/31/2023   09/01/2023-09/30/2023                 $10,453,718.50             $16,462.75         $8,362,974.80               $16,462.75
11/30/2023   10/01/2023-10/31/2023                 $11,823,286.20             $33,651.98         $9,458,628.96               $33,651.98
             08/01/2023-10/31/2023
               (Fourth Interim Fee
12/15/2023         Application)                    $31,759,524.70             $64,896.80        $31,209,524.70               $59,339.32
12/22/2023    11/1/2023-11/30/2023                 $10,370,698.80             $20,859.12         $8,296,559.04               $20,859.12
01/31/2024    12/1/2023-12/31/2023                 $10,125,407.50             $12,547.46         $8,100,326.00               $12,547.46
02/29/2024   01/01/2024-01/31/2024                 $11,087,998.60             $11,501.97         $8,870,398.88               $11,501.97
             11/01/2023-01/31/2024
                (Fifth Interim Fee
03/15/2024         Application)                    $31,584,104.90             $44,908.55        $31,164,908.80               $40,838.85
03/28/2024   02/01/2024-02/29/2024                  $9,886,777.50             $47,405.13         $9,721,246.23               $30,276.58
04/26/2024   03/01/2024-03/31/2024                  $8,486,461.40             $33,705.68         $8,344,375.19               $21,491.95
05/31/2024   04/01/2024-04/30/2024                  $8,504,159.00             $17,754.19         $8,361,776.48               $11,288.10


         1
             Approved fees for the monthly fee statements reflect the approved monthly amounts at 80% of requested fees.
             Approved fees for the interim fee applications reflect any reduction agreed upon by S&C, the U.S. Trustee and
             Fee Examiner.
         2
             Approved expenses for the monthly fee statements reflect the approved monthly amounts at 100% of requested
             expenses. Approved expenses for the interim fee applications reflect any reduction agreed upon by S&C, the
             U.S. Trustee and Fee Examiner.



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                                                                Requested                           Approved
Date Filed        Period Covered       Requested Fees                           Approved Fees 1
                                                                Expenses                            Expenses 2
             02/01/2024-04/30/2024
               (Sixth Interim Fee
6/14/2024         Application)              $26,877,397.90        $98,979.37     $26,472,405.50      $63,056.63
 7/5/2024    05/01/2024-05/31/2024           $6,953,339.30        $10,625.02      $6,953,339.30      $10,625.02
7/31/2024    06/01/2024-06/30/2024           $6,568,062.40         $9,372.23      $6,568,062.40       $9,372.23
8/29/2024    07/01/2024-07/31/2024           $6,251,602.00         $6,684.63      $6,251,602.00       $6,684.63
             05/01/2024-07/31/2024
              (Seventh Interim Fee
 9/13/2024        Application)              $19,773,003.70        $26,681.88     $19,523,003.70      $26,681.88
 9/30/2024   08/01/2024-08/31/2024           $5,922,772.50         $6,056.41               N/A             N/A
10/31/2024   09/01/2024-09/30/2024           $7,447,311.60        $14,576.56               N/A             N/A
11/18/2024   10/01/2024-10/08/2024           $2,004,994.20        $14,589.56               N/A             N/A

             08/01/2024-10/08/2024
               (Eighth Interim Fee
12/16/2024        Application)              $15,375,078.30        $35,222.53                  N/A           N/A




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                          IN THE UNITED STATES BANKRUPTCY COURT
                               FOR THE DISTRICT OF DELAWARE

In re:                                                       Chapter 11

FTX TRADING LTD., et al., 3                                  Case No. 22-11068 (JTD)

         Debtors.                                            (Jointly Administered)

                                                             Hearing Date: April 17, 2025 at 10:00 a.m. ET
                                                             Objection Deadline: January 31, 2025 at 4:00 p.m. ET



                FINAL FEE APPLICATION OF SULLIVAN & CROMWELL LLP

                     Sullivan & Cromwell LLP (“S&C”), counsel to FTX Trading Ltd. and its

affiliated debtors and debtors-in-possession in the above-captioned cases (collectively, the

“Debtors”), hereby submits this Final Fee Application of Sullivan & Cromwell LLP (the

“Application”) for allowance of compensation for professional services rendered and

reimbursement of expenses incurred for the period from November 11, 2022 through and

including October 8, 2024 (the “Application Period”). In support the Application, S&C

respectfully states as follows:

                                                 Background

                     1.    On November 11 and November 14, 2022, 4 the Debtors filed with the

United States Bankruptcy Court for the District of Delaware (the “Court”) voluntary petitions for

relief under title 11 of the United States Code, 11 U.S.C. §§ 101 et seq. (as amended or modified,



3
    The last four digits of FTX Trading Ltd.’s and Alameda Research LLC’s tax identification number are 3288 and
    4063 respectively. Due to the large number of debtor entities in these Chapter 11 Cases, a complete list of the
    Debtors and the last four digits of their federal tax identification numbers is not provided herein. A complete
    list of such information may be obtained on the website of the Debtors’ claims and noticing agent at
    https://cases.ra.kroll.com/FTX. The principal place of business of Debtor Emergent Fidelity Technologies Ltd
    is Unit 3B, Bryson’s Commercial Complex, Friars Hill Road, St. John’s, Antigua and Barbuda.
4
    November 11, 2022 is the petition date for all Debtors, except for Debtor West Realm Shires Inc.
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the “Bankruptcy Code”). From November 11, 2022 through January 3, 2025, the Debtors

operated their businesses and managed their properties as debtors-in-possession pursuant to

sections 1107(a) and 1108 of the Bankruptcy Code. Joint administration of the Debtors’ cases

(the “Chapter 11 Cases”) was authorized by the Court by entry of an order on November 22,

2022 [D.I. 128]. On December 15, 2022, the Office of the United States Trustee for the District

of Delaware (the “U.S. Trustee”) appointed an Official Committee of Unsecured Creditors (the

“Committee”) pursuant to section 1102 of the Bankruptcy Code [D.I. 231].

                     2.   On January 9, 2023, the Court entered the Order Establishing Procedures

for Interim Compensation and Reimbursement of Expenses of Professionals [D.I. 435] (the

“Interim Compensation Order”).

                     3.   On January 20, 2023, the Court entered the Order Authorizing

the Retention and Employment of Sullivan & Cromwell LLP as Counsel to the Debtors and

Debtors-in-Possession Nunc Pro Tunc to the Petition Date [D.I. 553], authorizing the retention

and employment of S&C as the Debtors’ counsel, nunc pro tunc to November 11, 2022.

                     4.   On March 8, 2023, the Court entered the Order (I) Appointing Fee

Examiner and (II) Establishing Procedures for Consideration of Requested Fee Compensation

and Reimbursement of Expenses [D.I. 834] appointing Katherine Stadler (the “Fee Examiner”) to

serve as the fee examiner in these Chapter 11 Cases and establishing certain procedures in

connection therewith.

                     5.   On December 15, 2023, S&C filed the Notice of Change in Hourly Rates

of Sullivan & Cromwell LLP [D.I. 4780], providing notice of revised hourly rates of its

professionals in these Chapter 11 Cases, effective January 1, 2024.

                     6.   On October 8, 2024, the Court entered the Findings of Fact, Conclusions


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of Law and Order Confirming the Second Amended Joint Chapter 11 Plan of Reorganization of

FTX Trading Ltd. and Its Debtor Affiliates [D.I. 26404] (the “Confirmation Order”). The

Confirmation Order, among other things, confirmed the Debtors’ Second Amended Plan of

Reorganization Under Chapter 11 of the Bankruptcy Code [D.I. 26404-1] (including the Plan

Supplement and all other exhibits and schedules thereto, as may be amended, modified or

supplemented from time to time in accordance with its terms, the “Plan”).

                     7.   On January 3, 2025, the effective date of the Plan occurred. See Notice of

Effective Date of the Second Amended Joint Chapter 11 Plan of Reorganization of FTX Trading

Ltd. and its Debtor Affiliates [D.I. 29127].

                                               Jurisdiction

                     8.   The Court has jurisdiction to consider this Application pursuant to 28

U.S.C. §§ 157 and 1334 and the Amended Standing Order of Reference from the United States

District Court for the District of Delaware, dated February 29, 2012. This matter is a core

proceeding pursuant to 28 U.S.C. § 157(b). Venue is proper in the Court pursuant to 28

U.S.C. §§ 1408 and 1409. Pursuant to Local Rule 9013-1(f), the Debtors consent to the entry of

a final order or judgment by the Court in connection with this Application to the extent it is later

determined that the Court, absent consent of the parties, cannot enter final orders or judgments

consistent with Article III of the United States Constitution.

                                           Relief Requested

                     9.   By this Application S&C seeks approval and allowance on a final basis of

its compensation for professional services rendered and reimbursement of expenses incurred for

the Application Period (the “Period Compensation”). S&C has filed and served monthly fee

applications covering the Application Period (collectively, the “Monthly Fee Applications”).


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Each of the Monthly Fee Applications is incorporated by reference as if fully set forth herein.

For the avoidance of doubt, by this Application, S&C is seeking only allowance of the Period

Compensation previously set forth in the Monthly Fee Applications. S&C is not requesting

additional fees or expense reimbursement above the Period Compensation.

                     10.   In accordance with the United States Trustee’s Guidelines For Reviewing

Applications for Compensation and Reimbursement of Expenses Filed Under 11 U.S.C. § 330 for

Attorneys in Larger Chapter 11 Cases (the “U.S. Trustee Guidelines”), this Application is

supported by the following exhibits:

                     •     Exhibit A: a summary of compensation by each professional of S&C that
                           worked on the Chapter 11 Cases;

                     •     Exhibit B: a summary of compensation by project category;

                     •     Exhibit C: an expense summary;

                     •     Exhibit D: S&C’s customary and comparable compensation disclosures;

                     •     Exhibit E: the Certification of Andrew G. Dietderich in support of the
                           Application.

                                       Compensation Requested

                     11.   S&C seeks final allowance of fees in the amount of $236,969,698.00 for

services rendered during the Application Period and expenses in the amount of $799,355.63,

which were incurred during the Application Period.

                     12.   The services performed by S&C during the Application Period included,

among others:

        •    the coordination of free-fall filings for 102 companies around the world, the creation
             of a silo structure to organize and fund the Chapter 11 Cases, the establishment of new
             corporate governance arrangements for the global group, and the organization of the
             retention of professionals in dozens of jurisdictions;

        •    the preparation, and approval of, of ‘first day’ and ‘second day’ motions and
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             applications, and the negotiation of the requested relief with stakeholders, resulting
             largely in consensual proceedings before the Court despite the complexity of the
             subject matter of these Chapter 11 Cases and the number of affected stakeholders;

        •    the preparation and filing of schedules of assets and liabilities, statements of financial
             affairs and Bankruptcy Rule 2015.3 reports for all Debtors;

        •    the investigation into the scope and nature of customer entitlements on the Petition
             Date;

        •    work on various corporate workstreams, including tax, intellectual property, asset
             security, human resources and global regulatory compliance;

        •    work with the Joint Provisional Liquidators in both Australia and The Bahamas;

        •    the collection and organization of voluminous corporate records across various
             traditional and non-traditional media of communications, the collection of materials
             for discovery;

        •    the provision of information to, and cooperation with requests by, global law
             enforcement in connection with criminal investigations and prosecutions;

        •    the provision of information to, and cooperation with requests by, global regulators in
             connection with investigations;

        •    identification, recovery and monetization of billions of dollars of liquid assets of the
             Debtors;

        •    the representation of the Debtors in five other large cryptocurrency cases—Voyager
             Digital, Celsius Networks, BlockFi, Genesis Digital, and Three Arrows Capital;

        •    discussions with and provision of information to the Committee and other creditor
             constituents;

        •    the sales of various venture capital assets and other de minimis assets;

        •    the preparation, negotiation and filing of the settlement and plan support agreement
             with the Committee, ad hoc committee and other interested parties, and further
             discussions with such parties regarding the chapter 11 plan and related issues;

        •    the preparation, drafting and negotiation of the chapter 11 plan, the disclosure
             statement and solicitation notices and ballots;

        •    working with various interested parties on inquiries and issues relating to plan
             solicitation and voting issues;

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        •    investigating, objecting to, and litigating various disputed claims;

        •    briefing and successful prosecution of the Debtors’ plan of reorganization; and

        •    the preparation, drafting, filing, and litigation of numerous litigation causes of action,
             including avoidance actions, against various parties, and settlements and mediations
             relating to those actions.
                                                  Notice

                     13.   Notice of this Application has been provided to: (a) the U.S. Trustee,

(b) the Committee, (c) the Fee Examiner and (d) all parties required to be given notice in the

Interim Compensation Order. S&C submits that, in light of the nature of the relief requested, no

other or further notice need be provided.

                                               Conclusion

                     WHEREFORE, S&C respectfully requests that the Court (i) approve the

Application and (ii) grant such further relief as is just and proper.




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 Dated: January 10, 2025               /s/ Andrew G. Dietderich
        New York, NY                   Andrew G. Dietderich
                                       James L. Bromley
                                       Brian D. Glueckstein
                                       Christian P. Jensen
                                       SULLIVAN & CROMWELL LLP
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                                       Counsel to the Debtors and Debtors-in-Possession




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